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                              IN THE UNITED STATES DISTRICT COURT
                                FOR THE DISTRICT OF PUERTO RICO

 In re:
                                                                        PROMESA
 THE FINANCIAL OVERSIGHT AND                                            Title III
 MANAGEMENT BOARD OF PUERTO RICO,

          as representative of                                          No. 17 BK 3283-LTS
                                                                        (Jointly Administered)
 THE COMMONWEALTH OF PUERTO RICO,
 et al., 1

                                          Debtors.


              SECOND SUPPLEMENTAL VERIFIED STATEMENT OF THE
          QTCB NOTEHOLDER GROUP PURSUANT TO BANKRUPTCY RULE 2019

           Pursuant to Rule 2019 of the Federal Rules of Bankruptcy Procedure (the “Bankruptcy

 Rules”), made applicable to this Title III case by Section 310 of the Puerto Rico Oversight,

 Management, and Economic Stability Act (“PROMESA”), 48 U.S.C. § 2170, and in accordance

 with the Order Further Amending Case Management Procedures to (A) Reschedule the

 September 2018 Omnibus Hearing, (B) Provide that Parties are no Longer Required to Provide

 Service of Paper Courtesy Copies on the Court, and (C) Provide Certain Clarifying Changes

 Regarding the Disclosure Requirements for Rule 2019(b) Groups [ECF No. 3730] (the “Order”),

 this second supplemental verified statement (the “Second Supplemental Statement”) is hereby



           1
            The Debtors in these Title III Cases, along with each Debtor’s respective Title III case number and the last
 four (4) digits of each Debtor’s federal tax identification number, as applicable, are the (i) Commonwealth of Puerto
 Rico (Bankruptcy Case No. 17 BK 3283-LTS) (Last Four Digits of Federal Tax ID: 3481); (ii) Puerto Rico
 Sales Tax Financing Corporation (“COFINA”) (Bankruptcy Case No. 17 BK 3284-LTS) (Last Four Digits of
 Federal Tax ID: 8474); (iii) Puerto Rico Highways and Transportation Authority (“HTA”) (Bankruptcy Case No.
 17 BK 3567-LTS) (Last Four Digits of Federal Tax ID: 3808); (iv) Employees Retirement System of the
 Government of the Commonwealth of Puerto Rico (“ERS”) (Bankruptcy Case No. 17 BK 3566-LTS) (Last Four
 Digits of Federal Tax ID 9686); and (v) Puerto Rico Electric Power Authority (“PREPA”) (Bankruptcy Case No. 17
 BK 4780-LTS) (Last Four Digits of Federal Tax ID: 3747). (Title III case numbers listed as Bankruptcy Case
 numbers due to software limitations).




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 submitted by an ad hoc group of holders (the “QTCB Noteholder Group”) 2 of those certain

 Qualified School Construction Bonds and Qualified Zone Academy Bonds issued by the Puerto

 Rico Public Buildings Authority (“PBA”) and guaranteed by the Commonwealth of Puerto Rico

 (the “Commonwealth”) (collectively, the “QTCBs” and, together with all other bonds issued or

 guaranteed by the Commonwealth the “General Obligation Bonds”). In support of this Second

 Supplemental Statement, the QTCB Noteholder Group respectfully states as follows:

         1.     In or around August 2015, certain members of the QTCB Noteholder Group

 engaged Bracewell LLP (“Bracewell”) to represent their interests as holders of QTCBs. From

 time to time thereafter, certain additional holders of QTCBs have joined the QTCB Noteholder

 Group. In May 2017, the QTCB Noteholder Group retained Correa-Acevedo & Abesada Law

 Offices, P.S.C. as its Puerto Rico counsel (together with Bracewell, “Counsel”).

         2.     On August 16, 2017, the QTCB Noteholder Group submitted the Verified

 Statement of the QTCB Noteholder Group Pursuant to Bankruptcy Rule 2019 [ECF No. 1053].

 On August 14, 2018, the QTCB Noteholder Group submitted the Supplemental Verified

 Statement of the QTCB Noteholder Group Pursuant to Bankruptcy Rule 2019 [ECF No. 3765],

 corrected, see Corrected Supplemental Verified Statement of the QTCB Noteholder Group

 Pursuant to Bankruptcy Rule 2019 [EC No. 3778]). Counsel to the QTCB Noteholder Group

 submits this Second Supplemental Statement to update the information regarding the disclosable

 economic interests held by members of the QTCB Noteholder Group as of January 18, 2019.

         3.     In accordance with Bankruptcy Rule 2019 and the Order, attached hereto as

 Exhibit A is a list of the names, addresses of each member of the QTCB Noteholder Group—and

 each such member’s disclosable economic interests as of January 18, 2019. The information set

         2
         The QTCB Noteholder Group shall have the same meaning as set forth in Notice of Appearance
 and Request for Notice [ECF No. 134].

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 forth herein (including Exhibit A) is based upon information provided to Counsel by the

 members of the QTCB Noteholder Group and is intended only to comply with Bankruptcy Rule

 2019 and the Order.

          4.    As of the date of this Second Supplemental Statement, Counsel represents only

 the QTCB Noteholder Group and does not represent or purport to represent any other entities

 other than the QTCB Noteholder Group with respect to the Debtors’ Title III cases. In addition,

 neither the QTCB Noteholder Group nor any member of the QTCB Noteholder Group (a)

 assumes any fiduciary or other duties to any other creditor or person and (b) does not purport to

 act, represent or speak on behalf of any other entities in connection with the Debtors’ Title III

 cases.

          5.    Nothing contained in this Second Supplemental Statement (including Exhibit A

 hereto) is intended to or should be construed as (a) a limitation upon, or waiver of any right to

 assert, file and/or amend its claims in accordance with applicable law and any orders entered in

 this or any other related Title III cases by any QTCB Noteholder Group member, its affiliates or

 any other entity, or (b) an admission with respect to any fact or legal theory.

          6.    Additional holders of QTCBs may become members of the QTCB Noteholder

 Group, and certain members of the QTCB Noteholder Group may cease to be members in the

 future. The QTCB Noteholder Group, through its undersigned Counsel, reserves the right to

 amend or supplement this Second Supplemental Statement as necessary for that or any other

 reason in accordance with the requirements set forth in Bankruptcy Rule 2019 and the Order.

          7.    The undersigned verify that the foregoing is true and correct to the best of their

 knowledge.

                       [Remainder of Page Intentionally Blank; Signatures Follow]



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 Dated: January 23, 2019




                                     BRACEWELL LLP

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                                     Counsel to the QTCB Noteholder Group


                                     CORREA ACEVEDO & ABESADA LAW OFFICES,
                                     P.S.C.

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                                     Puerto Rico Counsel to the QTCB Noteholder
                                     Group




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                                         Exhibit A
            Names, Addresses and Disclosable Economic Interests of the Members of
                               the QTCB Noteholder Group 1
                                              NATURE AND AMOUNT OF DISCLOSABLE
         NAME 2           ADDRESS                       ECONOMIC INTEREST
                                                              As of 1/18/2019
                                                   General Obligation Bonds
                              2000 Avenue of       Uninsured: $682,620,895
Canyon Capital Advisors
                              the Stars            Insured: $9,223,750
LLC (on behalf of its
                              11th Floor
participating clients)
                              Los Angeles, CA      COFINA Bonds
                              90067                Senior: $252,175,000

                                                   General Obligation Bonds
Davidson Kempner              520 Madison          Uninsured: $438,816,000
Capital Management LP,        Avenue
as investment advisor to      30th Floor           COFINA Bonds
its affiliated funds          New York, NY         Senior: $131,536,759
                              10022                Sub: $86,550,000


OZ Management LP, on          9 West 57th Street   General Obligation Bonds
behalf of its participating   39th Floor           Uninsured: $361,131,000
funds and/or accounts         New York, NY
                              10019

                                                   General Obligation Bonds
                                                   Uninsured: $1,482,567,895
                                                   Insured: $9,223,750
QTCB Noteholder Group
(Aggregate)                   N/A
                                                   COFINA Bonds
                                                   Senior: $383,711,759
                                                   Sub: $86,550,000




          1
            To the best of Counsel’s knowledge, the information included herein is accurate as of January
 18, 2019. The amounts set forth herein include only outstanding principal and do not include any other
 amounts that may be due and owing under the applicable debt documents and laws, including but not
 limited to any overdue or compounded interest. In addition, the amounts set forth herein do not include
 any disclosable economic interests that are subject to pending trades or other transfers that have not
 settled or otherwise been closed as of January 18, 2019.
          2
            Each entity on this Exhibit A holds disclosable economic interests, or acts as investment advisor
 or manager to funds, entities and/or accounts or their respective subsidiaries that hold disclosable
 economic interests, in relation to the Commonwealth of Puerto Rico or COFINA.



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